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Deposition of Jay Allen, taken April 14, 2023

 

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF MISSISSIPPI
ABERDEEN DIVISION
TATIANA (TANYA) SHERMAN PLAINTIFF
Vs. NO. 1:21-CV-190-GHD-DAS
ITAWAMBA COMMUNITY COLLEGE,
JOE LOWDER, TZER NAN WATERS,
AND DR. JAY ALLEN DEFENDANTS

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DEPOSITION OF JAY ALLEN, Ph.D.

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TAKEN AT THE INSTANCE OF THE PLAINTIFF
IN THE LAW OFFICES OF PHELPS DUNBAR, LLP
105 EAST MAIN STREET, TUPELO, MISSISSIPPI
ON APRIL 14, 2023, BEGINNING AT 9:05 A.M.

APPEARANCES NOTED HEREIN

Reported by: PHYLLIS K. McLARTY, RMR, FCRR, CCR #1235

 

ADVANCED COURT REPORTING
P.O. BOX 761 EXHIBIT

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